                                 Hearing Date and Time: April 27, 2023 at 11:00 a.m. (prevailing Eastern Time)


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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
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                                                               :
In re                                                          :             Chapter 11
                                                               :
ROCHESTER DRUG                                                 :             Case No. 20-20230 (PRW)
CO-OPERATIVE, INC.                                             :
                                                               :
                  Debtor.                                      :
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         STIPULATION AND ORDER RESOLVING LIQUIDATING TRUSTEE’S
         OBJECTION TO CLAIM 157 ASSERTED BY PHARMA HOLDING, INC.

        RDC Liquidating Trust, through its trustee Advisory Trust Group, LLC (the “Liquidating

Trustee”), the successor-in-interest to Rochester Drug Co-Operative, Inc. and Pharma Holding,

Inc. d/b/a/ Unzer Pharmacy (“Claimant”) (along with the Liquidating Trustee, the “Parties”)

enter into this Stipulation with reference to the following facts:

                                       GENERAL BACKGROUND

                 A.          On March 12, 2020 (the “Petition Date”), Rochester Drug Co-Operative,

Inc. (the “Debtor” or “RDC”) filed a voluntary petition for relief under chapter 11 of title 11 of




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the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the

Western District of New York (the “Bankruptcy Court”) (Case No. 20-20230).

                 B.          On February 26, 2021, the Bankruptcy Court entered an order (the

“Confirmation Order”) confirming RDC’s Second Amended Chapter 11 Plan of Liquidation (the

“Liquidating Plan”). Pursuant to the Confirmation Order, the Liquidating Plan and that certain

Liquidating Trust Agreement and Declaration of Trust (the “Trust Agreement”) (collectively, the

“Plan Documents”), RDC’s Assets were transferred to the RDC Liquidating Trust which was

empowered, among other things, to: (i) collect and administer the Debtor’s Assets (including

Causes of Action) and (ii) resolve Claims against the Debtor and its estate.1

                 C.          The Liquidating Trustee is authorized “to object to Claims and assert any

defenses thereto, and without further supervision or approval of the Bankruptcy Court, to

compromise and settle Claims free of any restrictions of the Bankruptcy Code or Bankruptcy

Rules, other than those restrictions expressly imposed by the Plan and Confirmation Order”.

[Trust Agreement § 3.2.10.] The Liquidating Trustee “may settle any Disputed Claim without

notice, or Court approval (except as requested by the Trustee).” [Plan § 8.15.]

                 D.          On or about June 26, 2020, Claimant filed a proof of claim (docketed as

claim 157) in the amount of $250,000.00 (the “Claim 157”).

                 E.          On or about February 15, 2023, the Liquidating Trustee filed and served

its Objection to Claim 157 of Pharma Holding, Inc. (the “Objection”) [Doc. No. 1798] and

Notice thereon [Doc. No. 1799], which was set for hearing on March 23, 2023 at 11:00 a.m. (the

“Hearing”).


1
  The bankruptcy case docket numbers for the applicable documents are as follows: Confirmation Order (Dkt. No.
1257); Liquidating Plan (Dkt. No. 1145); Notice of Effective Date (Dkt No. 1305). If not defined herein, capitalized
terms have the definitions given to them in the Plan Documents.


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DOCS_DE:242918.1 75015/003
SO ORDERED

DATED: ________________, 2023       ______________________________
      Rochester, New York           HON. PAUL R. WARREN
                                    United States Bankruptcy Judge




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DOCS_DE:242918.1 75015/003
